4

11:20:56 Main Document Page 1 of 53
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 De Db re ys30am

   

Fill in this information to identify your case:

     

United States Bankruptcy Court for the:
EASTERN DISTRICT OF LOUISIANA

 
   

  

Case number (if known): Chapter you are filing under:

[Chapter 7
(1 Chapter 11
C1 Chapter 12
7] Chapter 13

 

    
 
    
 

CO Check if this is an
amended filing

 
 

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 4 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
Spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

EEA icentity Yourself

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on your James Lillie

government-issued picture First Name Fist Name

identification (for example,

your driver's ticense or - -

passport), Middle Name Middle Name

Smith Smith

Bring your picture Last Name Last Name

identification to your meeting Jr

with the trustee. Sufix (Sr, Jr, ll) Suffix (Sr., Jr. I, Il)
2. All other names you

have used in the last 8 First Name First Name

years

. Middle Name Middle Name

Include your married or

maiden names. Last Name Last Name
3. Only the last 4 digits of

your Social Security XXX — xX -_ 20 4 78 MXC - _ 9 Bd

number or federal OR OR

Individual Taxpayer

Identification number 9xx - xx — 9xx | xx -

(ITIN)
4, Any business names ! have not used any business names or EINs. ! have not used any business names or EINs.

and Employer

Identification Numbers _
(EIN) you have used in Business name Business name
the last 8 years

 

 

Business name Business name
Include trade names and

doing business as names

 

Business name Business name

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
DeBarge 1daires27 Doc 1 Filed 01/08/16

5.

6.

First Narne

Where you live

Why you are choosing
this district io file for
bankruptcy

Middle Name Last Name

About Debtor 1:

227 Livas Lane
Number Street

sminteued 01/08/16 1120: 5G. Main Ragument Page 2 of 53

About Debtor 2 (Spouse Only in a Joint Case):

if Debtor 2 lives at a different address:

227 Livas Lane
Number Street

 

 

 

 

Thibodaux LA 70301 Thibodaux LA 70301
City State = ZIP. Cade City State ZIP Code
Lafourche Lafourche

County County

if your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

227 Livas Lane
Number Street

if Debter 2's maiting address is different
from yours, fill it in here. Note that the court
will send any notices to you at this mailing
address.

227 Livas Lane
Number Street

 

 

P.O. Box P.O. Box
Thibodaux LA 70301 Thibodaux LA 70301
City Siate ZIP Code City State ZIP Code
Check one: Check one:

f¥] Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

i have another reason, Explain.
(See 28 U.S.C. § 1408.)

rae re the Court About Your Bankruptcy Case

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go fo the top of page 1 and check the appropriate box.

7.

Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have ancther reason. Explain.
(See 28 U.S.C. § 1408.)

 

The chapter of the
Bankruptcy Code you
are choosing te file
under

Official Form 101

o Chapter 7
[J Chapter 11
[ Chapter 12
Chapter 13

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Delage 1éahe@O27 Doc 1 Filed 01/08/16shrtened 01/08/16 11a ROMAN ARecument | Page 3 of Res29am

Middle Name

First Name

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

71. Do you rent your
residence?

Official Form 101

Last Name

I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. Hf your attomey is submitting your payment on your
behalf, your attomey may pay with a credit card or check with a pre-printed address.

I need to pay the fee in installments. If you choose this option, sign and attach the Application for
Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

fC No

1 Yes.

District edla When 11/13/2014 Case number 14-13086
MM/DD/Yryy

District When Case number
MM /DD /YYYY

District When Case number
MM / DD /yryy

f] No

L] Yes.

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if Known

Debtor Relationship to you

District When Case number,
MM/DDSYYYY — if known

No. Go to line 12,

(1 Yes. Has your landlord obtained an eviction judgment against you and do you want fo stay in your

residence?

OO Ne. Go to line 12.
[] Yes. Fill out tnitial Statement About an Eviction Judgment Against You (Form 101A)
and file it with this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Page 1 of 1

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN RE
BANKRUPTCY NO.

JAMES SMITH, JR. 14-13086

LILLIE SMITH SECTION "B"

DEBTOR(S) CHAPTER 13

ORDER OF DISMISSAL

 

This matter was scheduled to come before the Honorable J etry A. Brown on
December 2, 2015 as a hearing on the motion of S.J. Beaulieu, Jr., Chapter 13 Trustee, to
dismiss case for failure to comply with the Plan (P-34).

Proper notice having been given and no objection having been filed,

If IS ORDERED that the motion is GRANTED and the case is
DISMISSED.

IT IS FURTHER ORDERED that the stay resulting from the filing of the
voluntary petition is SET ASIDE AND VACATED.

New Orleans, Louisiana, December 2, 2015,

A. Ibn

JERRY A. BROWN
BANKRUPTCY JUDGE

 
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First Name Middle Name Last Name

FEE Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor fe] No. Go to Part 4.
of any full- or part-time [CL] Yes. Name and location of business
business?

 

A sole proprietorship is a
business you operate as an
individual, and is nota

Name of business, if any

 

 

 

separate legal entity such as Number Street
a corporation, partnership, or
LLC.
If you have more than one City inte FIP Code
sole proprietorship, use a
Separate sheet and attach it Check the appropriate box to describe your business:
to this petition.
Lj Health Care Business (as defined in 11 U.S.C. § 101(27A))
[] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[0 Stockbroker (as defined in 17 U.S.C. § 101(53A})
(J Commodity Broker (as defined in 11 U.S.C. § 101(6))
[J None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a smail business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum
are you a smal! business or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1B).
debtor?

No. |. am not filing under Chapter 11.

1 No. !am filing under Chapter 11, but! am NOT a small business debtor according to ihe definition in

For a definition of small
Bankrupt de.
business debtor, see the Bankruptcy Co
11 U.S.C. § 101(51D). OO Yes. | am filing under Chapter 11 and | am a small business debtor according te the definition in the
Bankrupicy Code.

Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any kj No
property that poses or is 1 Yes. What is the hazard?
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

If immediate attention is needed, why is it needed?

For example, de you own
perishable goods, or
livestock that must be fed, ar
a building that needs urgent
repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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First Name Middle Name Last Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court

whether you have
received briefing
about credit
counseling.

The faw requires that
you receive a briefing
about credit counseling
before you file for
bankruptcy. You must
truthfully check one of
the following choices.
If you cannot do so,
you are not eligible to
file.

if you file anyway, the
court can dismiss your
case, you will lose
whatever filing fee you
paid, and your
creditors can begin
coilection activities
again.

Official Form 104

You must check one:

fv] | received a briefing from an approved credit
counseling agency within the 180 days before
I filed this bankruptcy petition, and | received
a certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(| received a briefing from an approved credit
counseling agency within the 180 days before
I filed this bankruptcy petition, but i do not
have a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankrupicy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. tf you do not do se, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only jor cause and is limited to a maximum of 15

days.

(J! am not required to receive a briefing about
credit counseling because of:

(I Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making

rational decisions about finances.

My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even aiter |
reasonably tried to do so.

[J Disabitity.

lam currenily on active military

[J Active duty.
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

You must cheek one:

f7] | received a briefing from an approved credit
counseling agency within the 180 days before
I filed this bankruptcy petition, and I received
a certificate of completion.

Attach @ copy of the certificate and the payment
plan, if any, that you developed with the agency.

J! received a briefing from an approved credit
counseling agency within the 180 days before
i filed this bankruptcy petition, but | do net
have a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate
and payment plan, if any.

[| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain tt before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the courtis
dissatisfied wih your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate fram the approved
agency, along with a copy of the payment plan you
developed, if any. If you de not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15

days.

(J! am not required to receive a briefing about
credit counseling because of:

[J Incapacity. [have a mental illness or a mental
deficiency that makes me
incapable of realizing or making

rational decisions about finances.

My physical disability causes me
te be unable to participate in a
briefing in person, by phone, or
through the internet, even after i
reasonably tried to do so.

C} Disability.

| am currently on active military

[] Active duty.
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5
D@ese 1dahG827 Doc 1 Filed 01/08/16senkeued 01/08/16 11 2R:5GMalRRagumeNt Page 7 of 53.

First Name

Middle Name

Last Name

EXE answer These Questions for Reporting Purposes

 

16. What kind of debts do you

have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities to

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a personal, family, or household purpose."
[ No. Go to line 6b.
fy] Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for @ business or investment or through the operation of the business or investment.
[ No. Go to line 16c.
Ci Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer or business debts.

 

No. |amnot filing under Chapter 7. Go to line 18.

Yes. [am filing under Chapter 7, Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute ta unsecured creditors?
CI No
LJ Yes

yy 1-49 fF] +=1.000-5,000 OO 25.001-50,000

O 50-99 [1 5,001-10,000 CO 50,001-109,000

OO 160-199 OO 10,001-25,000 OO More than 100,000

Fi 200-999

[$= $0-550,009 CJ 41,000,001-$40 milfion [OJ $500,000,001-$1 billion

PJ $50,001-$100,000 ( $+$10,000,001-$50 million _ $1,000,000,001-$10 billion

CJ $100,001-$500,000 [1 $=$50,000,001-$100 million LJ $10,600,000,001-$50 billion

[4 $500,001-$1 million Ej $100,000,001-$500 million [1 More than $50 billion

[+ $0-$50,000 C$ $1,000,001-$10 million [1 $500,000,001-$1 biltion

$50,001-$100,000 (CO $= $10,000,001-$50 million [J 4$1,000,000,001-$10 bition

f] +$100,001-$500,000 [ +=$50,000,001-$100 million CI $10,000,000,001-$50 billion

LJ $500,001-$1 million 0 $+ 3$1600,000,001-$500 million CJ More than $50 billion

 

be?
EESSAE sicn Bciow
For you

Official Form 101

| have examined this petition, and [ declare under penalty of perjury that the information provided is true
and correct.

If | have chosen te file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11, 12,
or 13 of title 11, United States Code. | understand the relief available under each chapter, and | choose to
proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is an attomey to help me fill
out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| requesi relief in accordance with the chapter of title 11, United States Code, specified in this petition.
| understand making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

X ist James Smith, Jr. X {si Lillie Smith

 

 

Signature of Debtor 7 Signature of Debtor 2
Executed on 01/08/2016 Executed on 01/08/2016
MM/ DDI YYYY MM / DD SYYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Middle Name Last Name

First Name
For your attorney, if you are
represented by one

if you are not represented by
an attorney, you do not need
to file this page.

Official Form 101

CREE MA RAGU ment Page, ol 23. 30am

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about
eligibility to praceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
relief avatlable under each chapter for which the person is eligible. | also certify that | have delivered to
the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b}4D) applies,
certify that | have no knowledge after an inquiry that the information in the schedules filed with the petition

is incorrect.

X /s/ Elisabeth D. Harrington
Signature of Attorney for Debtor

Elisabeth D. Harrington
Printed name

Harrington & Myers
Firm Name

2901 N. Causeway Blv
Number Street

Suite 303

Date 01/08/2016
MM / DD /YYYY

 

Metairie LA
City State

Contact phone (504) 861-0550 Email address

70002
ZIP Code

 

20852 la
Bar number Siate

Voluntary Petition for Individuals Filing for Bankruptcy

page 7
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pag@s2Q6 23:4-40em

Fill in this information to identify your case and this filing:

  

Debtor 1 James Smith, Jr.
First Name Middle Narne Last Name

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

fiom [Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

BEREHIE Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest In any residence, building, land, or similar property?

No. Go to Part 2.
OO Yes. Where is the property?

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that mumber he@re.......--.sscscssssscccesscececeseseressusrseerenseseons

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. lf you lease a vehicle, also reporiiton Schedule G: Executory Contracts and Unexpired Leases.

> $0.00

 

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

[] Ne

I Yes
3.1, Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Check one, amount of any secured claims on Schedule D:
Model: [J Debtor 1 only Creditors Who Have Claims Secured by Property.
Year 7] Pebtor 2 only Current value of the Current value of the

° [J Debtor 7 and Debtor 2 only entire property? portion you own?
Approximate mileage: [[] Atleast one of the debtors and another $28,000.00 $28,000.00
Other information:
2012 chevy truck [J Check if this is community property

(see instructions)
3.2. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Check one. amount of any secured claims on Schedule D:
jake chevy
Model: camero [J Debtor 1 only Creditors Who Have Claims Secured by Property.
Year. 2013 CF Debtor 2 only Current value of the Current value of the
ear | Debtor 7 and Debtor 2 only entire property? portion you own?

Approximate mileage: [] Atleast one of the debtors and another $30,000.00 $30,000.00
Other information:
2013 chevy camero-repossed in [Q Check if this is community property
December (see instructions)

Official Form 106A/B Schedule A/B; Property / page 1
pGase 16-10027 Doc 1 Filed 01/08/16 Berea 01/08/16 11:20:56 Main Document Pageet0,01 28 s0am

 

 

 

 

 

James Case number (if known)
First Name Middle Name Last Name
3.3. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Check one. amount of any secured claims on Schedule D-:
Model: (J Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: EO Debtor 2 only Current value of the Current value of the
, ((] Debtor 4 and Debtor 2 only entire property? portion you own?
Approximate mileage: [0 Atleast one of the debtors and another $10,000.00 $10,000.00
Other Information:
2000 16x80 mobile home without land [ Check if this is community property
principal residence (see instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boais, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
No
CO Yes
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that mummber here....c.cs.cccsssscssssssscessensssceerees > $68,000.00

 

Describe Your Personal and Househoid Items

Bo you own or have any legal or equitable interest In any of the following items?

10.

11.

Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

[] Ne

M7 Yes. Describe... Household goods & furnishings

Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners:
music collections; electronic devices including cell phones, cameras, media players, games

J No

oO Yes. Describe.....

Coilectibies of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No
E] Yes. Describe...

Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis:
canoes and kayaks; carpentry tools; musical instruments

No
Oo Yes. Describe.....

Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

No
[] Yes. Describe.....

Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CO No

Yes. Describe..... wearing apparel

Official Form 106A/B Schedule A/B: Property

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$3,541.00

_____ $2,500.00

page 2
SefSs4 16310027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document PAQerd dh QPF adam

Case number (if known)

 

 

First Name Middle Name Last Name
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gald, silver
[I No
l¥j Yes. Describe... wedding engagement ring(s) $1,000.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses

I No

oO Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you
did not list
4 No
( Yes. Give specific
information.............

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number Here..........ssssssecssseesssesssseseeeesssvsnssssscousssseeevassssststasecterssmsssstssnerssseceseesess > $7,041.00.

ERE Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

 

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your hame, in a safe deposit box, and on hand when you file your
petition
No
[Ll] VOB. une eeseececeseeeceseteseneauceseesaeesanseseesaeeasnesausaestasccassessssuscsssvevavayssesausatesseseeusvanuneteseserensescess CAST. oo cet ttetaccrees

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit: shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.

LI] Ne .
FAT YOS. eee ceeteeeecceeees Institution name:
17.1. Other financial account: checking account $10.00

 

18, Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

fy] No

[Oy YES... esseestetesseneees Insiftution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
iv] No
CO Yes. Give specific

information about
Ui Name of entity: % of ownership:

Official Form 106A/B Schedule A/B: Property page 3
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20.

21.

22.

23.

24.

25.

26.

27.

ase number (if known

 

 

First Name Middle Narne Last Name

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

No
CO Yes. Give specific Issuer name:
information about

 

 

 

Retirement or pension accounts
Exampies: Interests in RA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or

profit-sharing plans

Cc] No
fy] Yes. List each
account separately. Type of account: Institution name:

Additional account: tax defferred, retirement/pension/IRA
401 $300.00

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreemenis with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

PI No

[Oy YOS.nw eset teeters Institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years}
Fy No

1 eee Issuer name and description:

 

 

 

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b){1), 529A(b), and 529{b)(1).

fy] No

[1] YOS... eee teeter Institution name and description. Separately file the records of any interests. 17 U.S.C. § 521(c)

 

 

 

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit
No
E] Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Exampies: Intemet domain names, websites, proceeds from royalties and licensing agreements

v1 No
OO Yes. Give specific
information about them

Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association hoidings, liquor licenses, professional licenses

vw No
CO Yes. Give specific
information about them

Official Form 106A/B Schedule AJB: Property page 4
pease 16510027 Doc 1 Filed 01/08/16 &iterea 01/08/16 11:20:56 Main Document Pag sb Oh Pe atam

Case number (if known)

 

 

First Name Middle Name Last Name

Money or property owed to you? . Current value of the

28.

29,

30.

31.

32.

33.

35.

Official Form 106A/B Schedule A/B: Property

portion you own?
Do not deduct secured
claims or exemptions.

Tax refunds owed to you

No
(i Yes. Give specific information Federal: $0.00

about them, including whether
you already filed the returns State: $0.00

and the tax Y@ars....ccsseee Local: $0.00

Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

CO Yes. Give specific information Alimony: $0.00
Maintenance: $0.00
Support: $0.00

Divorce settlement: $0.00

Property settlement: $0.00

Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

No
C0 Yes. Give specific information

Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s Insurance

No
oO Yes. Name the insurance Company name: Beneficiary: Surrender or refund value:

company of each policy
and list its value...

 

 

 

Any interest in property that is due you from someone whe has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

O No
M7 Yes. Give specific information Wife—Both biological parents are alive and debtor has not been $0.00
adopted. No other party has left debtor an inheritance

Claims against third parties, whether or not you have filed a lawsuit or made @ demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

J No

(J Yes. Describe each claim........

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

oO No
Yes. Describe each claim........ interest in all earned income credit derived from federal tax $0.00

returns

Any financial assets you did not already list

fy] No

LJ Yes. Give specific information

page 5
cease 16319027 Doc 1 Filed 01/08/16 Eniered 01/08/16 11:20:56 Main Document Page tO de8 -a4am

Case number (if known)

 

 

First Name Middle Name Last Name

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that murmber Nere.......-.sssssscssvsessatscscesscsssscssesecausessnaceessesspuasssessneaestseccccesecoseeses Sd $310.00

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal er equitable interest in any business-related property?

PI No. Ga to Part 6.
CO Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

38. Accounts receivable or commissions you already earned
No
oO Yes. Describe..

39. Office equipment, furnishings, and supplies
Examples: Business-elated computers, software, modems, printers, copiers, fax machines, rugs, teleshones,
desks, chairs, electronic devices

No
CJ Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
CI Yes. Describe..

41. Inventery

No
[] Yes. Describe...

42. Interests in partnerships or joint ventures

No
(CO Yes. Describe..... Name of entity: % of ownership:

 

 

 

43. Customer lists, mailing lists, or other compilations

f7J No

C1] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101{41A})?

CJ No

(J Yes. Describe.....
44, Any business-related property you did not already list

No
Yes. Give specific
information...........

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
ase 16-1027 Doc 1 Filed 01/08/16. Fniered 01/08/16 11:20:56 Main Document Pag@dpOb2bcsam

2 |
Debtor 1 Case number (if known}

 

 

First Name Middle Name Last Name

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here..............-.------:--suersssessenessseneresteavensuanaeveceecoecarereoesssereccoesarnegepassacanes

 

 

> $0.00

 

   

luge Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Deo you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

fy] No. Go to Part 7.
oO Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

Mw No
oO Yes...

48. Crops-—either growing or harvested
fy No

Yes. Give specific
information...

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
MM No
(J Yes...
50. Farm and fishing supplies, chemicals, and feed
1 No
Ci Yes...
51. Any farm- and commercial fishing-related property you did not already list
No

Ci Yes. Give specific
Information...

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number here...............-.---.-:--:00 ' seveneeeess

 

 

> $0.00

 

Describe Ail Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

No
OO Yes. Give specific
information........cccee.

 

 

 

 

> $0.00

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number Were... cccsscsecsescuescessecesseeeeeeeeee

 

Official Form 106A/B Schedule A/B: Property page 7
GeASE; 16-0027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Page dS OPS ssam

Case number {if known)

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name

are ust the Totals of Each Part of this Form

55. Part 1: Total real estate, lime 2.......--ssssssnsssscsssesstasettesstseseessnetinese tars vertnmsrsiettsossegnttaattesesteieseeeesec, > $0.00
56. Part 2: Total vehicles, line 5 $68,000.00

57. Part 3: Total personal and household items, line 15 $7,041.00

58. Part 4: Total financtal assets, line 36 $310.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

Copy personal

62. Total personal property, Add lines 56 through 61....0......2...... $75,351.00 property total <P $75,351.00
63. Total of all property on Schedule AJB. Add line 55 + line G2... cscs csscsccsssacssssssssssssssssscscsssssecessseeeesesseeeccee $75,351.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pag@d40ib28asam

Fill in this information to identify your case:

Debtor 1 James Smith, Jr.
First Name Middle Name Last Name

Debtor 2 Lillie Smith
(Spouse, if filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA [1 Check if this is an
amended filing

 

Case number
(if known)

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 12/15

 

Be as complete and accurate as possible. [f two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Addificnal Page as necessary. On the tap of any additional pages,

write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

fv] You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b\3
ud
[ You are claiming federal exemptions. 11 U.S.C. § 522(b\(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of § Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own
Copy the value from Check only one box for
Schedule A/B each exemption
Brief description $28,000.00 $7,500.00 La. R.S. § 13:3881(A}(2)
2012 chevy truck CO 100% of fair market

value, up to any

Line f Schedule A/B: 1
Ing tom Seneauie —31_ applicable statutory

 

 

limit
Brief description $10,000.00 a $35,000.00 La. Const. Art. 12, § 9; La. Rev. Stat.
2000 16x80 mobile home without land [] 100% offairmarket § 20:1
principal residence value, up to any
Line from Schedule A/B: 3.3 applicable statutory
lirnit

 

3. Are you claiming a homestead exemption of more than $155,675?
{Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

I No

[i] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

oO No
oO Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pag@ed8.@t 22 -45am

Smith, Jr.
Last Name

James
First Name

Additional Page

Brief description of the property and Jine on
Schedule A/B that lists this property

Debtor 1
Middle Name

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description $3,541.00 $3,541.00 La. R.S. § 13:3881(A)(4)
Household goods & furnishings [I] 100% of fair market
Line from Schedule A/B: 6 value, up to any
—— applicable statutory
limit
Brief description $2,500.00 Mw $2,500.00 La. R.S. § 13:3881{A}(4)
wearing apparel [i +=100% of fair market
Line from Schedule AB: 11 value, up to any
rd applicable statutory
limit
Brief description $1,000.00 | $1,000.00 La. R.S. § 13:3881(A)(5)
wedding engagement ring(s) Fy] 100% of fair market
. . value, up to any
Line from Schedule A/B: 12 applicable statutory
limit
Brief description $300.00 M4 $300.00 La. R.S. § 13-3881(D)
tax defferred, retirement/pension/IRA [J 100% of fair market
401 value, up to any
Line from Schedule A/B: 24 applicable statutory
limit
Brief description Unknown $0.00 La. R.S. § 46:111
interest in all earned income credit derived C1 100% of fair market

from federal tax returns
Line from Schedule A/B: 34

value, up to any
applicable statutory
lirrit

 

Official Form 106C

Schedute C: The Property You Claim as Exempt

page 2
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document P@g@d@Obaeicam

Me eMC amc ella ia Zell Mors ores

Debter 1 James Smith, Jr.
First Namne Middle Name Last Name

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 

(feo [1] Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
E] Neo. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
vw Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim. If more than one
creditor has a particular claim, list the other creditors in Part 2. As
much as possible, list the claims in alphabetical order according to the
creditor's name.

Describe the property that
secures the claim: $28,000.00 $28,000.00
Americredit

 

 

 

 

 

 

Creditors name chevy truck

PO Box 78143

Number = Street

Phoenix AZ 85062 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code [O Contingent

Who owes the debt? Check one. O Unliquidated
(J Debtor 1 only Disputed
CO Debtor 2 only Nature of lien. Check all that apply.
0 Debtor 1 and Debtor 2 only [J An agreement you made (such as mortgage or secured car loan)
DD Atleast one of the debtors and another [[] Statutory lien (such as tex lien, mechanic's lien)
[-] Judgment lien from a lawsuit

(C0 Check if this claim relates fy] Other (including a right to offset) pmsi
to a community debt ~

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $28,000.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1
GASP, 16-3.0227 Doc 1 Filed 01/08/16 Eyitered 01/08/16 11:20:56 Main Document Page 20,01 33 | seam

Case number (if known)

 

 

First Name Middle Name Last Name

Additional Page

After listing any entries on this page, number them
sequentially from the previous page.

22 Describe the property that
secures the claim: $30,000.00 $30,000.00

Amer credit 2013 chevy camero-repossed

PO Box 1383834 in December

Number Street

 

 

 

 

 

Arlington TX 76096 As of the date you file, the claim is: Check all that apply.
City State ZIP Code CI Contingent
Cj Unliquidated

Who owes the debt? Check one.
jo owe ¢ Disputed

( Debtor 1 only

0 Debtor 2 only Nature of lien. Check all that apply.
Debtor 1 and Debtor 2 only (7 An agreement you made (such as mortgage or secured car loan)

CD Atleast one of the debtors and another [ Statutory len (such as tax lien, mechanic's tien)
[J Judgment lien from a lawsuit
i] Check if this claim relates CL] Other (including a right to offset)

to a community debt

Date debt was incurred Last 4 digits of account number

Describe the property that
. secures the claim: $500.00 $28,000.00
Americredit (truck ap)

 

 

 

 

Creditors name truck
PO Box 78143
Number = Street
Phoenix AZ 85062 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C1 Contingent
Unliquidated
Who owes the debt? Check one. Oo Dispos °
[] Debtor 1 only MI P
Debtor 2 only Nature of lien. Check all that apply.
P] Debtor t and Debtor 2 only (7 An agreement you made (such as mortgage or secured car loan}

(J Atleast one of the debtors and another (] Statutory lien (such as tax lien, mechanic's iien)
(J Judgment tien from a lawsuit

Check if this claim relates 7] Other (including a right to offset) Ap

to a community debt

Date debt was incurred Various Last 4 digits of account number

 

Add the doliar value of your entries in Column A on this page. Write
that number here: $30,500.00

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2
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Case number (if known)

 

 

First Name Middle Name Last Name

Additional Page
After listing any entries on this page, number them
sequentially from the previous page.

. Describe the property that
im: $950.00 $0.00 $950.00

secures the claim:
Ameriplus

Creditor’s name

209 Bayou Gardens Blvd

Number Street

G1-8

Houma LA 70364 As of the date you file, the claim is: Check all that apply.
City State ZIP Cade oO Contingent

LJ Uniliquidated

Dispuied

   

 

household

 

Whe owes the debt? Check one.
oO Debtor 7 only

0 Pebtor 2 only Nature of lien. Check all that apply.
Debtor 1 and Debtor 2 only (J An agreement you made (such as mortgage or secured car loan)

( Atleast one of the debtors and another [[] Statutory lien (such as tax lien, mechanic's lien}
CJ Judgment lien from a lawsuit
Check if this claim relates fy] Other (including a right to offset) Ioan
to a community debt

Date debt was incurred Last 4 digits of account number

Describe the property that
es $12,000.00 $10,000.00 $2,000.00

secures the claim:

Delta Financial
Creditors name
108 A West Main St.

Number Street

mobile home

 

Thibodaux LA 70301 As of the date you file, the claim is: Check all that apply.
City State ZIP Code LJ Contingent

oO Unliquidated

Disputed

 

Who owes the debt? Check one.
[J Debtor 1 only
CO Debtor 2 only Nature of lien. Check all that apply.
[J Debtor 1 and Debtor 2 only [CJ An agreement you made (such as mortgage or secured car loan)
( Atieast one of the debtors and another [[] Statutory lien (such as tax lien, mechanic's lien)

CJ Judgment lien from a lawsuit

LJ Check if this claim relates Other (including a right to offset} Pledge

to a community debt

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $12,950.00

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3
pase 19210027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document PageyenOb2pacam

Caseé number (if known

 

First Name Middle Name Last Name

Additional Page
[ClmMee After listing any entries on this page, number them
sequentially from the previous page.

   

 

Describe the property that

Na
a

 

 

 

 

 

secures the claim: $1,300.90 $0.00 $1,300.00
Finance Service of Thibodaux
Creditors name household
1103 St. Mary St.
Number Street
Thibodaux LA 70301 As of the date you file, the claim is: Check all that apply.
City State ZIP Code oO Contingent
Who owes the debt? Check one. O Sag
CD Debtor 1 only Mi P
CD Debior 2 only Nature of lien. Check all that apply.
Debtor 1 and Debtor 2 only [-] An agreement you made (such as morigage or secured car loan)

[Fj Atleast one of the debtors and another [[] Statutory lien (such as tax lien, mechanic's lien)
LJ Judgment lien from a fawsuit
jv] Check if this claim relates fv] Other (including a right to offset} Joan
to a community debt

Date debt was incurred Last 4 digits of account number

 

 

[ 27 | Describe the property that

secures the claim: $980.00 $0.00 $980.00
first franklin
Creditors name househoid

327 N. Canal Blvd
Number Street

 

Thibodaux LA 70302 As of the date you file, the claim is: Check all that apply.
City State ZIP Code oO Contingent

LJ Unliquidated

Disputed

 

Who owes the debt? Check one.
[ Debtor 1 only

LJ Debtor 2 only Nature of lien. Check ail that apply.
Debtor 1 and Debtor 2 only OO An agreement you made (such as mortgage or secured car loan)

[J Atleast one of the debtors and another [[] Statutory lien (such as tax lien, mechanic's lien)
CO Judgment lien from a lawsuit

wz Check if this claim relates Other (including a right to offsei) joan
to a community debt

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write

that number here: $2,280.00

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4
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Case number {if known)

 

 

First Name Middle Name Last Name

Additional Page

After listing any entries on this page, number them
sequentially from the previous page.

 

   

 

 

 

 

 

2. Describe the property that
secures the claim: $1,000.00 $0.00 $1,000.00
First Heritage Credit
Creditor's same household
1651 St. Mary Si.

Number Street
Thibodaux LA 70301 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Go Contingent
Unliqui
Who owes the debt? Check one. Den tea
C Debtor 1 only p
CO Debtor 2 only Nature of lien. Check all that apply.
Debtor 1 and Debtor 2 only [ An agreement you made (such as mortgage or secured car loan)

[J Atleast one of the debtors and another [[] Statutory Hen (such as tax lien, mechanic's lien)
[J Judgment lien from a tawsuit
Check if this claim relates vi Other (including a right to offset) loan
to a community debt

Date debt was incurred Last 4 digits of account number

 

 

 

 

 

Describe the property that
secures the claim: $1,775.00 $0.00 $1,775.00
Republic Finance
Creditor's name household
507 B St. Philip St.

Number Street
Thibodaux LA 70301 As of the date you file, the claim is: Check all that apply.
City State ZIP Code (C Contingent
Untiquidated
Who owes the debt? Check one. O n iquidate

Disputed
[J Debtor 1 only
CJ Debtor 2 only Nature ofiien. Check all that apply.
fy] Debtor 1 and Debtor 2 oniy CJ An agreement you made (such as mortgage or secured car loan)

( Atleast one of the debtors and another [] Statutory lien (such as tax lien, mechanic's lien)
[] Judgment lien from a lawsuit
Check if this claim relates fy] Other (including a right to offset) [gan
to a community debt

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $2,775.00

 

 

 

 

If this is the last page of your form, add the dollar value totals from

ali pages. Write that number here: —__$76,505.00_

 

 

 

Official Form 106D Additional Page of Schedule BD: Creditors Who Have Claims Secured by Property page 5
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pa@ga2¢) Pfo32a7am
Fill in this information to identify your case:

  

Debtor 4 James Smith, Jr.
First Name Middle Name Last Name

Debtor 2 Lillie Smith
(Spouse, ff filing} First Name Middie Name Last Name

United States Bankrupicy Court for the: EASTERN DISTRICT OF LOUISIANA

 

(foe CO Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Property (Official Form 1064/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

 

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
CO No. Go to Part 2.
Yes.

2. List ail of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
claim, list the other creditors in Part 3.

 

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.

 

 

 

 

 

 

 

 

 

 

21 $2,380.00 $2,380.00 $0.00
Harrington & Myers .s
Priority ee ware Last 4 digits of account number _
2901 N. Causeway Blvd. When was the debt incurred?
Number Street
Suite 303 As of the date you file, the claim is: Check alll that apply.
Metairie LA 70002 (J Contingent
City State ZIP Code (I Unliquidated
Whe incurred the debt? = Check one. fj Disputed

Debior 1 only

Fy Debtor 2 only Type of PRIORITY unsecured claim:

 

Debtor 1 and Debtor 2 only [1] Domestic support obligations
[J Atleast one of the debtors and another [] Taxes and certain other debts you owe the government
[] Check if this claim is for acommunity debt LJ Claims for death or personal injury while you were
. | intoxicated
a Subject to offset? fy] Other. Specify Attorney fees for this case
v1]
CI Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1
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James
First Name

Debtor 1
Middle Name

Smith, Jr.
Last Name

Case number (if known)

 

Your PRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

2.2

 

 

 

Harrington & Myers

Priority Creditor's Name

2901 N. Causeway Bivd.

Number Street

Suite 303

Metairie LA 70002

City State ZiP Cade

Who incurred the debt? Check one.
Debtor 1 only

L] Debter 2 only

fy] Debior 1 and Debtor 2 only

CO Atteast one of the debtors and another

fy] Check if this claim is for a community debt

Is the claim subject to offset?

I No

oO Yes

2.3

 

 

 

 

Internal Revenue Service

 

 

 

 

Priority Creditor's Name

P.O. Box 7346

Number Street

Philadelphia PA 19101-7346
City State ZIP Code

Who incurred the debt? Check one.

[J] Debtor 1 only
Debior 2 only
Debtor 1 and Debtor 2 only
f] Atleast one of the debtors and another
FP] Check if this ciaim is for a community debt
Is the claim subject to offset?
No
LI Yes

2.4

Louisiana Dept of Revenue
Priority Creditor's Name

PO Box 66658

Number Street

 

 

 

 

 

Baton Rouge LA _70896
City State ZIP Code

Who incurred the debt? Check one.
Debior 1 only
Lj Debtor 2 only
Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another
Check if this claim is for a community debt
Is the claim subject te offset?
No
Ci Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

$1,200.00

$1,200.00

Last 4 digits of account number

When was the clebt incurred?

 

As of the date you file, the claim is: Check ail that apply.
[] Contingent

LJ Uniiquidated

oO Disputed

Type of PRIORITY unsecured claim:

[] Pomestic support obligations

[[] Taxes and certain other debts you owe the government

[J Claims for death or personal injury while you were
intoxicated

Other. Specify Attorney fees for this case

$2,000.00 $2,000.00 $0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
[] Contingent

OO Uniliquidated

L] Disputed

Type of PRIORITY unsecured claim:

[[] Domestic support obligations

Taxes and certain other debts you owe the govemment

CJ Claims for death or personal injury white you were
intoxicated

[J Other. Specify

 

$4,500.00 $4,500.00 $0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.
[J Contingent

CO) Unliquidated

CL] Disputed

Type of PRIORITY unsecured claim:
[-] Domestic support obligations
Taxes and certain other debts you owe the government
[Cj Claims for death or personal injury while you were
intoxicated
[Fj Other. Specify

 

page 2
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James
First Name

Debtor 1
Middle Name

Smith, Jr.
Last Narne

Case number (if known)

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
(] No. You have nothing to report in this part. Submit this form to the court with you other schedules.

w Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
If a creditor has more than one nonpriority unsecured claim, list the creditcr separately for each claim. For each claim listed, identify what
type of claim itis. Do not list claims already included in Pari 1. lf more than one creditor halds a particular claim, list the other creditors in
Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41 Unknown
@ Equifax Information Services LLC Last 4 digits of account number _
PO. Bex abet When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.

CO Contingent

Atlanta GA__30374 CO Disputes ted
City State ZIP Code O
ee earted the debt? = Check one. Type of NONPRIORITY unsecured claim:
C Debtor 2 only oO Student loans
[[] Debtor 1 and Debtor 2 only Cc eogatons arena a ofa Scherer agreement or divorce
O Atleast one of the debtors and another Cl Debts to nension or proftaharivg plane and other similar debts
C1 Check if this claim is for a community debt Other. Specify Credit Bureau, Notice Only
Is the claim subject to offset?
No
Ol Yes

4.2 Unknown
@ experian Last 4 digits of account number ee
Do box 2002 Name When was the debt incurred?
Number Street As af the date you file, the claim is: Check ail that apply.

(1 Centingent

Allen TX 75013 a Disputed
City State ZIP Code Oo
one reg tne debt? — Check one. Type of NONPRIORITY unsecured claim:
a Debtor 2 only [] Student loans
[J Debtor 4 and Debtor 2 only 0 mers aren out ofa peparaton agreement or divorce
[7] Atleast one of the debtors and another oO Debie to pension or, orofteharing lene and other similar debts
[] Check if this claim is for a community debt | Other. Specify Credit bureau: notice only
Is the claim subject to offset?
No
TJ Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 3
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James
First Name

Debtor 1
Middle Name

Smith, Jr.
Last Name

Case number (if known}

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

Alter listing any entries on this page, number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.3 Unknown
@ Trans Union Last 4 digits of account number _
Nonpricrity Creditor’s Name ; 3
Attn Public Records Dept When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
555 W. Adams St C1 Contingent
. OO Uniiquidated
Chicago IL 60661 :
City State ZIP Code [ Disputed
i ?
pla neurred the debt? =— Check one. Type of NONPRIORITY unsecured claim:
oT See ; nny CJ Student loans
Debtor 1 and Debtor 2 only [J Obligations arising out of a separation agreement or divorce
[J Atleast one of the debtors and another that you did not report as priority claims
_. i. ; [J Debts to pension or profit-sharing plans, and other similar debts
C0 Check if this claim is for a community debt Other. Specify Credit Bureau: notice only
Is the claim subject to offset?
No
E Yes
44 $800.00
American Infosource Last 4 digits of account number _
Nonpriortty Creditor's Name When was the debt incurred?
T-Mobile —
Number Street As of the date you file, the claim is: Check al! that apply.
PO Box 248848 CJ Contingent
Oklahoma City OK 73124 [] Uniiquidated
ahoma Ci :
City State ZIP Code Disputed
wre incurred ihe debt? Check one. Type of NONPRIORITY unsecured claim:
Debtor 2 a El Studeni loans
Debtor 1 and Debtor 2 only (] Obligations arising out of a separation agreement or divorce
At least one of the debtors and another that you did not report as priority claims
O oo. _ ; [J Debts to pension or profit-sharing plans, and other similar debts
fy] Check if this claim is for a community debt Other. Specify Services
Is the claim subject to offset?
wv No
oO Yes
4.5 $1,418.00
Louisiana Dept of Revenue Last 4 digits of account number _—
Nonpronty Creditors Name : >
PO Box 66658 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
[] Contingent
Baton R LA 70896 oO Unliquidated
aton Rouge ‘
City State «ZIP Code iv] Disputed
Who incurred the debt? = Check one. Type of NONPRIORITY unsecured claim:
O oS ony (J Student loans
Ff Debtor 1 an 4 Debtor 2 only ( Obligations arising out of a separation agreement or divorce
oO At least one of the debtors and another that you did not report as priority claims
[[] Debis to pension or profit-sharing plans, and other similar debts
fy] Check if this claim is for a community debt fA Other. Specify Taxes
Is the claim subject to offset?
No
OO Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
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Debtor 1 James Smith, Jr. Case number (if known)
First Name Last Name

 

Middle Name

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
debts that you listed in Parts 7 or 2, list the additional creditors here. if you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fiili out or submit this page.

ATTORNEY GENERAL OF THE UNITED STATES On which entry in Part 1 or Part 2 did you list the original creditor?

Name

U.S. DEPARTMENT OF JUSTICE
Number Street

950 PENNSYLVANIA AVE NW

WASHINGTON pc
City State

20530
ZIP Code

Internal Revenue Service
Name

1555 Poydras Street
Number Street

Suite 226 - Mail Stop 31

70112
ZIP Code

New Orleans LA
City State

Internal Revenue Service
Name

P.O. Box 7346
Number Street

 

19101-7346
ZIP Code

Philadelphia PA
City State

La Dept of Revenue-Bankruptcy Section
Name

P.O. Box 66658
Number Street

 

70896

Baton Rouge LA
4IP Code

City State

La Dept of Revenue-Bankruptcy Section
Name

P.O. Box 66658
Number Street

 

 

 

Line 2,3 of (Check one): v1 Part 1: Creditors with Priority Unsecured Claims
[] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 2.3 of (Check one}: fy] Part 1: Creditors with Priority Unsecured Claims
Lj Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 2,3 of (Check one): Part 1: Creditors with Priority Unsecured Claims
[i] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.5 of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you [ist the original creditor?

Line 2.4 of (Check one): ff Part 1: Creditors with Priority Unsecured Claims
(DO Part 2: Creditors with Nonpriority Unsecured Claims

 

 

 

Baton Rouge LA 70896 Last 4 digits of account number

City State ZIP Code —_— oo

Louisiana Attorney general On which entry in Part 1 or Part 2 did you list the original creditor?

Name

State of Louisiana Line 4.5 of (Check one): [] Part 1: Creditors with Priority Unsecured Claims
Dept of J ative Part 2: Creditors with Nonpriority Unsecured Claims
Baton Rouge LA 70804 Last 4 digits of account number

City State ZIP Code _--_

Official Form 106E/F Schedule E/F: Creditors Vfho Have Unsecured Claims page 5
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Debtor 1 James
First Name

Middle Name

Smith, .Jr, Case number (if known)
Last Name

 

| Part 3: INE Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Louisiana Attorney general
Name

State of Louisiana

Number Street

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 2.4 of (Check one): Part 1: Creditors with Priority Unsecured Claims
LL] Part 2: Creditors with Nonpriority Unsecured Claims

 

 

 

 

 

 

 

 

Dept of Justice

Baton Rouge LA 70804 Last 4 digits of account number

City State ZIP Cade ——_ —

U.S. ATTORNEY On which eniry in Part 1 or Part 2 did you list the original creditor?

Name

500 POYDRAS ST Line of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims
ROOM B21. eet CO Part 2: Creditors with Nonpriority Unsecured Claims
NEW ORLEANS LA__70130 Last 4 digits of account number

City State ZIP Code —-

U.S. ATTORNEY OFFICE On which entry in Part 1 or Part 2 did you list the original creditor?

Name

CIVIL PROCESS CLERK Line 2.3 of (Check one): fy] Part 1: Creditors with Priority Unsecured Claims
650 POYDRAS STREET OD Part 2: Creditors with Nonpriority Unsecured Claims
NEW ORLEANS LA 70130 Last 4 digits of account number

City Siate ZIP Code — —— ——

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 6
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Debior1 James Smith, Jr. Case number (if known)
First Name Middle Name Last Name

 

| Part4: [ECE the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only,
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $0.00
from Part 1
6b. Taxes and certain other debts you owe the government 6b. $6,500.00
6c. Claims for death or personal injury while you were intoxicated 6c. $0.60
6d. Other. Add ail other priority unsecured claims. Write that amount here. 6d. 4 $3,580.00
6e. Total. Add lines 6a through 6d. 6d. $10,080.00
Total claim
Total claims 6f. Student loans of. $0.00
from Part 2
69. Obligations arising out of a separation agreement or divorce 6g. $0.00
that you did not report as priority claims
6h. Debts to pension or profit-sharing plans, and other similar 6h. $0.00

debts
6i. Other. Add all other nonpriority unsecured claims. Write that amount here. 6i. + $2,218.00

 

6). Total. Add lines 6f through Gi. 6j. $2,218.00

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 7
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Fill in this information to identify your case:

  

Debtor 7 James Smith, Jr.
First Name Middle Name Last Name

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

needled (1 Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

eee rer reer reer renee reer erence

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. lf more space is needed, copy the additional page, fll it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B; Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone}. See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1
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Fill in this information to identify your case:

  

Debtor 1 James Smith, Jr.
First Name Middle Name Last Name

     
    

   
 
    

      

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

      
   
 
 

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 

  

Case number
(if known)

 

 
 

 

Official Form 106H

 

Schedule H: Your Codebtors

[A Check if this is an
amended filing

12/15

rere

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this

page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a foint case, do not list either spouse as a codebtor.)
No
Oy Yes

2. Within the last 8 years, have you lived in a community property state or territery? (Community property states and territories
include Arizona, Califormia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

L] No. Go to line 3.
fF Yes. Did your spouse, former spouse, or legal equivalent iive with you at the time?

L] Ne

Yes
in which community state or territory did you live? Louisiana Fill in the name and current address of that person.
Lillie Smith

 

Name of your spouse, former spouse, or legal equivalent
227 Livas Lane
Number Street

 

Thibodaux LA 70301
City State ZIP Code

3. In Column 41, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F)}, or Schedule G (Official Form 106G). Use

Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 7: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

Official Form 106H Schedule H: Your Codebtors

page 1
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Fill in this information to identify your case:

  

 

 

Debtor 1 James Smith, Jr.

First Name Middle Name Last Name Check if this is:
Debtor 2 Lillie Smith :
(Spouse, if filing} First Name Middle Name Last Name [] Anamended filing

CO Asupplement showing postpetition

United States Bankruptcy Court forthe: EASTERN DISTRICT OF LOUISIANA ” .
" chapter 13 income as of the following date:

Case number
if known
(ifkn ) MM / DD / YYYY

Official Form 1061
Schedule |: Your Income 12/15

 

 

Be as complete and accurate as possibile. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one
job, attach a separate page  Employmentstatus fy] Employed Employed
with information about C1 Not employed [C] Not employed
additional employers.
Occupation operator cook
Include part-time, seasonal,
or self-employed work. Employer's name united vision Mcdonalds
Occupation may include Employer's address 2951 Hwy 1 467 equity blvd
student or homemaker, if it Number Street Number Street
applies.
Labadieville LA 70372 Houma LA 70360
City State Zip Cade City State Zip Code
How long employed there? dec 2015 121/15

Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all 2. $1,950.00 $692.00
payroll deduciions). If not paid monthly, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay. occu tcceeeceeseeeceene 3. + $0.00 $0.00
4. Calculate gross income. Add line 2 + line 3. oi... cessssssscesscesseesseeneesscees 4. $1,950.00 $692.00

 

 

 

 

 

 

Official Form 106] Schedule [: Your Income page 1
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Debtor 1 James Smith, Jr. Case number (if known)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy lime 4 Were «es ssscssscsscnessessccssccnssusssecnrpsssesseseccssecespenssuaesaneees > 4. $1,950.00 $692.00
5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductionS —...essssssssssss.- 5a. $433.33 $108.00
5b. Mandatory contributions for retirement plans $0.00 $0.00
Sc. Voluntary contributions for retirement plans $0.00 $0.00
5d. Required repayments of retirement fund loans ss eeesssessareeacece 5d. $0.00 $0.00
BO. WMSUPAMCE cesses -nscsnessacsscetsccesessesastsccensenssenaeeeesansesarassesucccconsprunuanes 5e. $0.00 $0.00
Sf. Domestic support obligations oi... eessecsssssssscescovsensacsssessecsereeeese Bf. $0.00 $0.00
SQ UNION QUES recs sesssssatsssseeseessottsnnstaescoessnneeaeeseesnntestneniiisscesesennaecseens 5h $0.00 $0.00
Sh. Other deductions.
Specify: state 5h. $0.00 $0.00

 

6. Add the payroll deductions. Add lines5a+5b+5c+5d+5e+5f+ 6. $433.33 $108.00
5g + 5h.

 

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.7. $1,516.67 $584.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a ween... 8a. $0.00 $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

Sb. Interest and dividends  .......-sssssssssssssseecenecsccecececesscrgustecstecsensenases 8b. $0.00 $0.00
&c. Family support payments that you, a non-filing spouse, or a 8c. $0.00 $0.00
dependent regularly receive
Include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

8d. Unemployment compensation — ...ccsssecsscececesssssssscccsccecsecossneussanse 8d. $0.00 $0.00
Se. Social Security .........--csesee jenneatenasneuvaseunasenceee 8e. $0.00 $0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies.

 

 

 

 

 

 

 

 

 

 

Specify: family assistance 8f. $371.00 $0.00
8g. Pension or retirement InCOMe ——....ssss.-.scsssscerecececeeseeesecesseanessaces 8g. $0.00 $0.00
8h. Other monthly income.
Specify: anticpated tax refund Bh.+ $350.00 $0.00
9. Add all other income, Add lines 8a + 8b + 8c + 8d +8e+8f+8g+8h. 9. $721,600 $0.00
10, Calculate monthly income. Add ling 7 # 1IN@ 9. a ccessesccsesessesessssececense 10, $2,237.67 | + $584.00 |= $2,821.67

 

 

 

 

 

 

 

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.
Include coniributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay éxpenses listed in Schedule J.

 

 

 

 

 

 

Specify: 10+ $0.00
12. Add the amount in the last column of line 10 te the amount in line 11. The result is the combined monthly 12. $2,821.67

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, -

if it applies. Combined

. monthly income

13. Do you expect an ja€rease or decrease within the year after you file this form? ~NY

CO No. James just started working again December 2015. Paid approx. $450 cash per week. Must pay his

Yes. Explains| own taxes.

 

 

 

Official Form 1061 Schedule |: Your Income page 2
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Fill in this information to identify your case:

  

Check if this is:

 

 

 

 

Debtor 4 James Smith, Jr. (0 Anamended filing

First Name Middle Name Last Name | A supplement showing postpetition
Debtor 2 Lillie Smith chapter 13 expenses as of the
(Spouse, if filing) First Name Middle Name Last Name following date:
United States Bankruptcy Court forthe: EASTERN DISTRICT OF LOUISIANA MM/DD/YYYY
Case number
(if known)

 

Official Form 106J
Schedule J: Your Expenses 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Household

1. Is this a joint case?

 

0 No. Go to line 2.
Yes. Does Debtor 2 live in a separate household?

MI No

[CI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? CI No

 

 

 

 

 

 

> F tei ‘ Dependeni's relationship to Dependent's Does dependent
Do notlist Debtor 1 and ves. ei ae spondent maton Debter 1 or Debtor 2 age live with you?
Debtor2.ti(‘<‘é(Uw”~*é;é;é*#O ACH deperndden...................
son 17 vos
Do not state the dependents’ FO No
names. daughter 13
I Yes
No
daughter 6 O
Yes
No
daughter 4m CI
Gaugnte I Yes
CJ No
Ci Yes
3. Do your expenses include No
expenses of people other than OO Yes

yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule J: Your Income (Cfficial Form 1061} Your expenses

4, The rental or home ownership expenses for your residence, oe eceessscececceseeseectesesseescsueseeseoeesseens 4,
include first mortgage payments and any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes ees eeeceenseeeseene se caeseenenansceesaeseenanaeeeseeseeseaseceeegesoreaeessessaneg ates aenaeseereneesretaas 4a.
4b, Property, homeowner's, or renter’s INSUPANCE ooo... eeeceeeceeececeeceeeeceeneeeeseeeseceenseeeecenseeeersnerseeseennenanse 4b. $100.00
4c. Home maintenance, repair, and upkeep expenses snsnnentstn dence eesaae ee caa dee eesaae eee eeceneeeeneeee ep cennenes 4c.
4d. Homeowner's association or COMGOMINMIUM CUES oo... eeeeceeeceeeececeeeeeneeee ceeseeaeeeeeaseesensaesateensaneatees 4d.

Official Form 106J Schedule J: Your Expenses page 1
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pagé@s36Of.a3.29am

 

 

Debior1 James Smith, Jr. Case number (if known)
First Name Middle Narne Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans «eee eceeeee 5.

6. Utilities:

6a. Electricity, heat, natural GaS «0... sees cesses ess ceesestsssccsccacavsaessassssaesansessessssauedeccseeessestsesnesscseteeesares 6a. $300.00

 

6b. Water, sewer, garbage Collection oe ssssecssecssseessecesscessnsseestucceecesceceseeceaesescesecavguvauuauseuvauuanesuvauuanen 6b. $50.00
6c. Telephone, cell phone, Internet, satellite, ANd... cc sscesseserseessessssesccrssssnscececcceececescecenecescocenevsuveas 6c. $110.00
cable services
6d. Other. Specify: &d. $50.00
7. Food and housekeeping supplies ou... eee eeeeeeeeeeeeteeee cevae sevarvansneaaavaveeenasundesensereeseeneataeaeecs 7. $500.00
8. Childcare and children’s education Costs (o.....eesecseeecssesseesssssssesesseseceaesccnecceusarenezesavananesesecaneenensanes 8.
9. Clothing, laundry, and dry clearing — 0.0.0.2... cece eccsesrsseeeneseseseunsaeaeeseseseassssesenenssseenesasssncesenerseee 9. $50.00
10. Personal care products and services oo... eeeececesesccessessesseesseavseseassesscsneseaessssuaccas ccuseaneaseasesnesnass 10, $20.00
11. Medical and dental expenses oo... ccsssscesesseeeccucececacenenseesecesseesesceeeesegesavaueuauatasusauanseuensuunaaeseniices 11. $120.00
12. Transportation. Include gas, maintenance, DUS OF train 0... ceecccesccccessaucccccocececececceccececescosessesscersecenseees 12. $265.00
fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, oo... cesssssccsssssssssecceccassassncesensvsnsesaneesnsecanessnseneeuseres 13.
magazines, and books
14. Charitable contributions and religious donations —ocscsissc se ecececcseceseeeceseseeceeseneeeeesseesessacscececeevaveraues 14.

15. Insurance.
De not include Insurance deducted from your pay or included in lines 4 or 20.

15a. LI] IMSUTE CE oes ce te ceneeeaen cee seneeeeeeneseeeseassssccacsseseecesessssesausessssesseasananeceesesensensccconeesnaesnnanens 15a.
15D. Health insurance ne cesses seen cscs ceeeeeaessesessescecsaressnessusssessesesesseseesessassnessesscsesasecarecensnseamnestsanansase 15b.
15c. Vehicle inSurance oo... cesccsecsescssscesessseseenessecscesessecou prensa sausensussuvesceuccaceueesesceesanseseensassesseaeaneceeseees 15c. $230.00
15d. Other insurance. Specify: 15d.

 

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.

17. Installment or lease payments:

 

 

17a. Car payments for Vehicle 1 oo... cecsscsnscesssesssceesesceseonsessusseseesseesesesesanesscasrscusesesasssassasssscansassesgecs 17a.
17b. Carpayments for Vehicle 2 oo... scesscessssessseseseessesseseeceesssenesessesssessatusscececesssecueasivseeanstavsseenessieee 17b.
17c. Other. Specify: 17.
17d. Other. Specify: / misc expense 17d.
18. Your payments of alimony, maintenance, and support that you did not report as 18.

deducted from your pay on line 5, Schedule I, Your Income (Cfficial Form 1061).

19. Other payments you make to support others who do not live with yeu.
Specify: 19.

20. Other real property expenses not included in lines 4 or 5 of this form or on
Schedule I: Your Income.

20a. Mortgages on other property 2... ceeseseeseecseeseeesaeescaeseecceescecesecsssnecesseenesstecensnssseceseasesseseecceqeee 20a.
20b, Real estate taxes oo... cece ce cecee cece enn cecee conse eeesceeeaaeseeeeaecoeceacersaevaveuuseusuasususiuasseuseseveesesessneevae 20b.
20c. Property, homeowner's, OF renters IMSUTAMCE oa... cece eee ccsescecacnceneessesecoesseeenceusearenseusssnensessesesecess 20c.
20d. Maintenance, repair, and upkeep @xpenSeS ou... ee eee eeeceececceccuneenevveruseuaueseuveuunsesusuanuscsusaeeeee se 20d.
20e. Homeowner's association Or CONdOMINIUM CUCS oo... ee eceeeeceeeeeeneeecetecetereneeeteeeeeneeseseeeneasnesennaeee 20e.

Official Form 106J Schedule J: Your Expenses page 2
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pa@ges3¢,0f92?.s9am

 

 

Debtor 1 James Smith, Jr. Case number (if known)
First Name Middle Name Last Name
21. Other. Specify: 21.0

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 24. ou... cessssesseccesnssseeceseseccenssnteeeassnessessssesesseaseesesaesuesueeassuntaususaccreasaeeserensersass 22a. $1,795.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. .ocecscccessesssesseee 22b.
Zac. Add line 22a and 22b. The result is your monthly expenses. ou...ccsecccsessscsssssccscccesseceesscucecssseee 22¢. $1,795.00

 

 

 

 

23. Calculate your monthly net income.

 

23a. Copy line 12 (your combined monthly income) from Schedule |... ssesssesssesscsccsesersensescerenecseseess 23a. $2,821.67
23b. Copy your monthly expenses from liné 226 ADOVE. oon... eee cessssssesesssvsesssstesasstsscsserssccesseneconsaversese 23b. $1,795.00
23¢. Subtract your monihly expenses from your monthly income.

The resuit is your monthly MEtinCOMe. ..cssssssscssccsscscsssacccccsseseseessoeseeseecesrvsvensatsssatsssessesssesasecceesee 23c. 1,026.67

 

 

 

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?

No.
OO Yes.| Explain here:
None.

 

 

 

 

Official Forrn 106J Schedule J: Your Expenses page 3
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Fill in this information to identify your case:

  

Debtor 1 James Smith, Jr.
First Name Middle Name Last Name

Debtor 2 Liliie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

Geom C1 Check if this is an
amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B..........ccsssssessscecccssssseees senses ssssssssssescosposssspstvesssiseesteesescceccescessesccs $0.00
1b. Copy line 62, Total personal property, from Scheculle A/B.......scccsccsssssssssccesecssecseesseteccecsstestasssecssusestseststeseccepsesseesec. $75,351.00
1c. Copy line 63, Total of all property an Schedule AVB..u......scccssssssseccessssseccesseessesersarsaseasssusosssssssesteassseveueesesbeesececcceesece __ $75,351.00

 

 

 

Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 06D)

2a. Copy the total you listed in Column A, Amount of clatm, at the bottom of the jast page of Part 1 of Schedule D..... $76,505.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F.ccecccssccesecccccccceccceeeoesccoes $10,080.00

+ $2,218.00

 

Your total liabilities | _ $88,803.00.

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your income (Official Form 1061) .
Copy your combined monthly income from line 12 of Schedule [........cccccccsssseecstesccsecscscsscasssessscssasestsetssssesscceesssecoeeeseecsesee __ $2,821.67

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J............sssecsssecssssssscssssecassosessssusssstttecssssesssssecceseveeeesseceeeeesecees $1,795.00

Official Form 106Surm Summary of Your Assets and Liabilities and Certain Statistical Information page 1
pase 16510027 Doc 1 Filed 01/08/16 Bhlered 01/08/16 11:20:56 Main Document Pag Resa: Oh 2e-s1am

Case number (if known}

 

 

First Name Middle Name Last Name

area ae Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

DO No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?
4] Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form toe the court with your other schedules.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from

Official Form 122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14. $336.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations. (Copy line 6a.) $0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $6,500.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0.00
Od. Student loans. (Copy line 6f.} $0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $0.00

priority claims. (Copy line 6g.}

9%, Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $0.00
9g. Total. Add lines 9a through 9f. $6,500.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Page4Q.et o34 sam

Fill in this information to identify your ‘case:

  

Debtor t James Smith, Jr.
First Name Middle Name Last Name

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 

from 0 Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

BE sin 5c10

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

f¥J No
[] Yes. Name of person Attach Bankrupicy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and that they are
true and correct.

 

 

X /s/f James Smith, Jr. X sf Lillie Smith
Signature of Debtor 1 Signature of Debtor 2
Date 01/08/2016 Date 91/08/2016

MM/DD/YYYY MM / DDS YYYY

Official Form 106Dec Declaration About an individual Debtor's Schedules page 1
Case 16-10027 Doc 1 Filed 01/08/16 Entered 01/08/16 11:20:56 Main Document Pa@@s4di6fo23.45am
Fill in this information to identify your case:

  

Debtor 1 James Smith, Jr.
First Name Middle Narne Last Name

Debtor 2 Lillie Smith
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

feo [1 Check if this is an

amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. Whatis your current marital status?
Married
0 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No
[] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Community property states and territories Include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, and Wisconsin.)

CJ No

M Yes. Make sure you fill out Schedule H: Your Cadebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Case number (if known)

 

 

First Name Middle Name Last Name

| Part 2: [ENaen the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

 

No
CJ Yes. Fill in the details.

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support: Social Security;
unemployment; and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits: royalties:
and gambling and lottery winnings. if you are in a joint case and you have income that you received together, list it only once under

Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

No

Yes. Fill in the details,

 

 

 

 

 

 

 

Sources of income Gross income Sources of income Gross income
Describe below. from each scurce Describe below. from each source
(before deductions (before deductions
and exclusions and exclusions
From January 7 of the current year until
the date you filed for bankruptcy:
For the last calendar year: 35006
(January 1 to December 31, 2015 )
YYYY
92128

 

For the calendar year before that:

(January 1 to December 31, 2014 )
YYYY

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
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Case number (if known)
First Name Middle Name Last Name

 

 

List Certain Payments You Made Before You Filed for Bankruptcy
6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

[J No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose."

During the 80 days before you filed for bankruptey, did you pay any creditor a iotal of $6,225* or more?

OJ No. Go to line 7.

£7 Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

7] Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

4 No. Go fo line 7.

CO Yes. List below each creditor to whom you pald a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not inciude payments to an attormey for this bankruptcy case.

Dates of Total amount Amount you Was this payment for...
payment paid stil owe
7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

No

[i Yes. List all payments to an insider.
Dates of Total amount Amount you Reason for this payment
payment paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

Include payments on debts guaranteed or cosigned by an insider,

No
0 Yes. List ali payments that benefited an insider.

Dates of Total amount Amount you Reason for this payment
payment paid still owe Include creditor's name

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Case number (if known}

 

 

First Name Midd’e Name Last Name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection-suits, patemity actions, support or custody
modiiications, and contract disputes.

No
[] Yes. Fill in the details.
Nature of the case Court or agency Status of the case

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
(CO Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

No
CJ Yes. Fillin the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

iv] No
| Yes
List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
No
OD Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

fy] No

Yes. Fill in the details for each gift or contribution.

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you jose anything because of theft, fire,
other disaster, or gambling?

No
CO Yes. Fill in the details.

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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Case number (if known) _-
First Name Middle Name Last Name

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

CO No

wy Yes. Fill in the details.

 

Description and value of any property transferred Date payment Amount of

Harrington & Myers ortransferwas payment
Person Who Was Paid made

2901 N. Causeway Blvd 1/8/16 $120.00
Number Street

Suite 303

 

Metairie LA 7002
City State ZIP Code

 

Email or website address

 

Person Who Made the Paymeni, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaif pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

No
ml Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property te anyone, other than
property transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement,

wv No
oO Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a seif-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.}

FJ No

Co Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor 1 James Case number (if known}
First Name Middle Name Last Name

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

No
CO Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

iv No
CO Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

fy] No

Yes. Fill in the details.

ewe Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

fv No

Ci Yes. Fill in the details.
imme Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

@ Environmental jaw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

m= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmenial unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

I No
oO Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?

Vv No
| Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Case number (if known)

 

 

First Name Middle Name Last Name

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

No
Yes. Fill in the details.

clea Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

DD Asele proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
[] A member of a limited liability company (LLC) or limited liabitity partnership {LLP}

7 Apariner in a partnership

CJ An officer, director, or managing executive of a corporation

( An owner of at least 5% of the voting or equity securities of a corporation

vw No. None of the above applies. Go to Part 12.
OO Yes. Check all that apply above and fill in the details below for each business.

28, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
all financial institutions, creditors, or other parties.

[Li No

oO Yes. Fill in the details below.

[ have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. | understand that making a faise statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

X ‘si James Smith, Jr. X fs! Lillie Smith
Signature of Debtor 1 Signature of Debtor 2
Date 01/08/2016 Date 01/08/2016

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?

jv] No

Oo Yes

Did you pay or agree te pay someone who is not an attorney to help you fii! out bankruptcy forms?

fy] Ne

CJ Yes. Name of person Attach the Bankruptcy Petition Preparer's Notice,

 

Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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B2030 (Form 2030) (12/15)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

Inre James Smith, Jr. Case No.
Lillie Smith
Chapter 13

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b}, | certify that | am the attorney for the above named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankrupicy, or agreed to be paic to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For legal services, | have agreed f0 ACCEL. cceececcecasseccssnssorecsssaseccecseseasevees $2,500.00
Prior to the filing of this statement | NAVE POCCIVEM. 0.0... ee ceeteetesecseesanestestesaeanesnscceenees $120.00
Balance Due... eeceseecseceseessscssceccecscoeseeseecessesseurssussessansaessecnsarcensasseccaraeeusavansenansanss $2,380.00

2. The source of the compensation paid to me was:

4] Debtor [] Other (specify)
3. The source of compensation to be paid to me is:
Debtor CJ Other (specify)

4. {| have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

[ [have agreed io share the above-disclosed compensation with another person or persons who are not members or
associates of my lawfirm. A copy of the agreement, together with a list of the names of the people sharing in the
compensation, is attached.

5. In return for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy case, including:

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required:

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
 

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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERTIFICATION

| certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.

01/03/2016 fsf Elisabeth D. Harrington

Date Elisabeth D. Harrington Bar No. 20852
Harrington & Myers

2901 N. Gauseway Biv

Suite 303

Metairie, LA 70002

Phone: (504) 861-0550 / Fax: (504) 861-0180

 

 

isf James Smith, Jr. fsf Lillie Smith
James Smith, Jr. Lillie Smith
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In re:

James Smith, Jr. Case No.
Lillie Smith

EXHIBIT "A"
Bankruptcy Rule 2016(b) Disclosure of Fixed Fee Agreement

Elisabeth D. Harrington have agreed to provide the following services to the Debtor(s) on a fixed fee basis
for a period ending not iess than 120 days after confirmation of Debtor(s)’ Chapter 13 pian:

| have agreed to provide the following services to the Debtors(s) on a fixed fee basis:

A.
B.

K..

Counsel with the Debtor(s) on an as needed basis;
Prepare and timely file a proposed Chapter 13 plan and any required amendments to the plan;

Prepare and timely file the required petition, schedules, statement of financial affairs, and all other
required documents;

Prepare and file miscellaneous motions required to protect the Debtor(s)’ interests in the case;

Prepare and file responses to motions filed against Debtor(s)--even if the response is a statement that the
Debtors have no opposition to the relief requested; (Section A only) - and attend the scheduled hearing;

Attend the §341(a) meeting of creditors;

Review all proofs of claim filed; file proofs of claim for secured or priority claimants provided for under the
plan, if the claimant does not timely file a proof of claim; and modify the plan after confirmation or object
should a timely proof of claim require greater distributions than provided for by the confirmed plan;

Prepare and file objections to claims necessary to confirm, implement or enforce the terms of a plan which
could have been brought within 120 days of confirmation;

Attend the confirmation hearing, if required under the circumstances, including but not limited to if
Objection is filed; and

Advise the Debtor(s) concerning their obligations and duties pursuant to the Bankruptcy Code, Bankruptcy
Rules, applicable court orders and the provisions of their chapter 13 plan.

Prepare and file the necessary pleading's to obtain ihe entry of a discharge if appropriate.

The fixed fee agreement does not include the following services:

A.
B.

C.

D.

Representation of the Debtor(s) in an adversary proceeding, either as a plaintiff or a defendant;

Representation of the Debtor(s) in a contested matter, the subject of which is extraordinary in the context
of chapter 13 cases in the United States Bankruptcy Court for the Eastern District of Louisiana;

Representation of the Debtor(s) in any matter in which the Court orders fee shifting pursuant to which fees
are to be paid by a person cther than the Debtor(s) and;

Representation on matters for which the first hearing is set more than 120 days following confirmation.

| have not shared or agreed to share any of the compensation paid or to be paid. The following sets forth all

compensation that is being paid by any person or entity other than the Debtor(s).

As of the filing of this petition, | have received $120.00 in compensation and $2,380.00 will be paid under the

chapter 13 plan.

Dated: January 8, 2016 /s/ Elisabeth D. Harrington

Elisabeth D. Harrington
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HARRINGTON &
MYERS

Attorneys at Law

James Smith, Jr.
Lillie Smith Bankruptcy Representation Agreement

This contract of employment is hereby made and entered into by and between, Harrington & Myers,
Elisabeth D. Harrington & Kirk L. Myers (hereinafter referred to jointly as Attorney) and Client(s). Attorney and
Client do hereby bind and obligate themselves to render the services required upon the following terms and
conditions:

We have discussed the benefits and drawbacks of filing a petition under Chapter 13 and under Chapter 7 of
the U.S. Bankruptcy Act. In certain situations, Chapter 13 can be a useful tool to assist persons who have fallen
behind in payments to creditors or have other financial difficulties. We will offer our guidance and advice based on
the information provided us.

As we discussed, if you wish to retain our legal services, we will prepare and file a bankruptey on your
behalf under the U.S. Bankruptcy Code, attend the Meeting of Creditors and any related Confirmation, Hearing,
and advise you generally on your rights and responsibilities in bankruptcy. It is understood that our representation
includes you forwarding all scheduled creditor collection calls to our office and you do not want us to forward
dunming or collection letters after your case is filed. In the event a scheduled creditor serves you with any legal
papers you shouid immideately telephone our office and file notice of your bankruptcy into the records of the Court
where the legal papers are filed.

As your Bankruptcy attorney your retainer fee secures our services and required amendments through the
meeting of creditors. In a chapter 13 our services our secured through confirmation and typically for the following
6 months without further fee. In the vast majority of cases, you will not require any additional legal services other
than the occasional telephone call to ask about a related bankruptcy question and you will receive your bankruptcy
discharge in due course.

However, as your attorney we are always available to discuss your bankruptcy case and there is seldom a
charge for our time discussing your case. (by seldom, I mean almost never, and never without advanced warning
and only in the most unusual of cases). Accordingly, we have not built into your retainer fees charges for work
which is not typical and for which you may never need.

If additional monies need to be charged for extraordinary work after the time period outlined above, we will
reach a new agreement before you have any new obligations to our office. Typically it is only Chapter 13 work
which an additional event will occur which will generate another fee. For example, you want to sell your property,
or have the need to modify your plan as a result of an unanticipated expense or loss in income. These are routine
events in the course of a five year Chapter 13 plan and typically are satisfied with a $350.00 fee. Frequently, this
fee can be included within your Chapter 13 plan not requiring any up front money. Naturally, you are always free
to retain alternative counsel at your expense if you do not want to reach a new financial agreement with our office.
We will gladly forward an electronic copy of your file to the electronic address of your choosing.

It is agreed that, in consideration of work performed prior to the date of this Agreement and the reservation of
our time to properly handle your case through conclusion, the full fee will be deemed earned when paid, and we
may immediately deposit the full fee into our general operating account. In a Chapter 13 case, our total fees are set
by the court and our disclosed in 11 USC 2016 which attached to your bankruptcy petition.

In all chapters, it is expressly understood and agreed that this Retainer Agreement does not cover, and we will
not automatically represent you at: contested hearings; adversary proceedings; responses to or hearings on Motions
to Lift Stay; Motions to Dismiss; Notices of Sale; or any legal services other than those stated above; without a new
retainer and an additional fee. In bankruptcy proceedings, the typical fee for our representation in these types of
matters is $350.00 to $6000 (higher fees are for contested matters and/or adversary proceedings) in certain
situations, (plus costs) and all or part of the fee can generally be added into the repayment plan. , although we have
discussed their possibility, no representations can be made regarding the actions any creditor may take. If this case
is converted to another Chapter, there will be an additional fee for our representation in that proceeding, (all as
specifically delineated by standing order 2011-1)

To establish our attomey-client relationship, it is the firm's normal practice to receive the full fee in all flat fee
cases before starting to represent you. In Chapter 13 cases, and in consideration of your current circumstances we
will allow you to pay the fee as indicated in the 2016B attachment to your case which allows our remainder to be
paid from the court payments. As you pay the court they will pay us. Please note that we do not accept personal
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checks; all payments must be made by cash, certified or treasurer's check, or money order. Generally, speaking our
initial fees are cared in full at confirmation and certainly after the bar date in any give Chapter 13.

We reserve the right to file a Proof of Claim in this case and any future case be paid through the Chapter 13
Plan if the balance due has not been paid. You nrevocably assign to us your interest in all payments made to the
Chapter 13 Trustee, to the extent of our unpaid fees. If your case is dismissed or converted before our fees are paid
in full, you agree to allow the Chapter 13 Trustee to pay the balance of our fees to us directly from funds that could
otherwise be returned to you.

Just as you always have the right to terminate your employment of our firm, we may, subject to Court
approval, terminate this Agreement at any time and withdraw from representing you if differences arise between us
conceming your case or if you do not make the payments required by this Agreement. This agreement shall
automatically terminate upon the receipt of your Discharge Order, We cannot and have not guaranteed any specific
results in any matter. We have made no representations as to the effect of the bankruptcy on your credit record, the
circumstances under which you may be able to obtain credit in the future, or possible federal or state tax
implications (and suggest that you have an accountant review such matters}. I hereby authorize the secure
destruction of my file five years after it is closed by the Bankruptcy Court..

Our firms legal work is limited to Bankruptcy Court and we do not engage in legal work outside the
Bankruptcy arena. In the event you require legal assistance in another matter such as divorce, criminal, tort, and/or
contract you need to seek alternative legal representation. Further, we are not tax professionals, and can make no
representations regarding the tax implications of your bankruptcy filing or any other matter related to it, 1 strongly
recommend that you seek advice from a tax professional, such as a tax attomey or certified public accountant, to
discuss such.

Regarding your bankruptcy representation. ft is expressly understood and agreed that we will not represent
you, we will take no steps to protect your interests, and we are not your attomey until this document has been
signed by both of us and returned to our office, and the fee and costs called for have been paid and credited in full.

After your bankruptcy petition is filed, the Court-appointed trustee may require additional information. You
Tust cooperate with the trustee to the fullest extent possible, or the trustee may not recommend approval of your
plan or discharge to the Court. Once a Chapter 13 Plan is approved, the Court may require that your payment be
made through a payroll deduction from your paycheck.

We rely on your representations as to the completeness and accuracy of your debts and assets, the valuation of
your property, your income, the breakdown of your monthly budget and the other information you have provided
us. We perform no independent verification or other check of this information, such as obtaining a credit or asset
report. If'a creditor is not listed, the debt to such creditor may not be discharged. If false, incorrect or incomplete
information is included, or information is omitted, it can cause you additional effort and expense to remedy the
error, may place the bankruptcy itself in jeopardy and could result in civil or criminal liability. It is vitally important
that the information included in the bankruptcy schedules be complete and correct to avoid any problems down the
toad. Therefore, please review carefully all material and information provided us to insure that it is complete and
correct.

It is understood and acknowledged that certain debts may not be dischargeable in a Bankruptcy under both
Chapter 13 & Chapter 7's. As such, any liens, security interests, homeowners liens and mortgages, are not released
upon your discharge. Debts such as student loans, alimony and child support arrearages, and certain priority taxes
may not be discharged, and you will need to make arrangements for the payment of such debts or surrender the
property securing the debt following the conclusion of your case. You acknowledge that you have been advised to
close or spend (keep receipts for daily living expenses) ail financial accounts at an entity to whom you owe or may
owe money at the time of filing.

If the above is your understanding of our agreement, and is satisfactory to you, please sign this letter and return it
to us along with your certified or treasurer's check or money order for our fee, the filing fee and costs. By signing

you are acknowledging that this Agreement has been explained to you, that all of your questions have been
adequately answered, and that you have received a copy of this Apreement.

Dated: January 8, 2016

UNDERSTOOD AND AGREED TO:

 

 

/S/ James Smith, Jr. ‘S/ Lillie Smith
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ADDITIONAL CHAPTER 13 ACKNOWLEDGMENT & ADDENDUM'S

As a result of the Legal ruling stemming from IN Re Flugence v Axis. It is expressly agreed and
understood that Client(s) have an ongoing and continuing obligation to disclose ALL post-petition causes of
action to Harrington & Myers, the Chapter 13 trustee and the Bankruptcy Court. Failure to disclose will
result in the complete loss of any monies related to the post-petition cause of action.

Client understand and acknowledge that Client must pay all applicable mortgage company(ies), homeowner's
or condominium fees, CERTAIN auto loan(s) and any other secured or leasing creditor(s) the full monthly
payment on time once my case is filed. I must file all tax returns on time and pay all taxes incurred after the date of
filing. I must pay the Trustee the monthly Chapter 13 Plan payment once my case is filed, If I do not send a
payment on time, in full, for my regular monthly payment for my mortgage company(ies), my auto loan(s), any
other secured or leasing creditor(s), any taxing authority, the trustee or any creditor to be paid outside the plan, my
case may be dismissed and my creditors may begin foreclosure on my property.

Client also understand and agree that if Client does not comply with the foregoing paragraph that any
actions to correct the situation resulting thereby are not covered by this Retainer Agreement, and that Attorney will
not represent me in such matters unless additional fees are paid.

If during the course of the bankruptcy proceeding you wish to sell real property or any of your other assets, you
must let us know well in advance of the transfer so that we can ask the court for approval, Normally there will be a
$350 fee for this legal work. If you do not do this, the property or asset may not be able to be legally transferred,
which can cause significant problems both with the sale and with your bankruptcy case. You must provide us with a
copy of the listing agreement and/or contract for sale of the property before such document is si gned by you.

If it is necessary to amend my schedules to add an additional creditor or creditors, or to amend my Chapter
13 Plan, for each amendment, I agree to pay an additional fee to cover court costs, notice and my attomey's time in
accordance with 11 USC 2016 and all attachments and addendum's to the 2016 schedule as well as defined by
standing order 2011-1,

Client agrees that complex loan history claim analysis is not envisioned in this agreement. In other words
neither party to this agreement expects an audit of the loan history of a secured creditor to be included with base
fees paid and/or charged in this case. Generally, this type of analysis requires a contested matter and/or adversary
proceeding and would be done on an hourly basis if Attorney chooses to represent client in this endeavor. Naturally
client is free to retain any counsel of Client's choosing and has the ability to bring this type of litigation in the Court
of Client's choosing as this type of litigation may not be limited to Bankruptcy Court. Attorney has filed Client's
case based on the balances and past due sums provided by Client, Specifically without an audit or other independent
means to verify these numbers. Attorney will gladly amend the plan to provide for any sums higher than originally
anticipated and further will reserve all rights for Client to dispute these sums in a separate hearing. However, it is
specifically understood and agreed that by filing this Chapter 13, Attorney is not obligated, nor expected to litigate
complies loan histories for the sums paid by client for a routine case,

If Client fails to appear for the Meeting of Creditors, Confirmation Hearing, or any other bankruptcy
proceeding and it must be rescheduled, And/or if Client fails to provide Attorney with any required asset and
employment documents in advance of the Meeting of Creditors, Client agrees to pay all costs associated with the
rescheduled or additional hearing and further agrees in advance to authorize Attorney to include these costs within
the Chapter 13 plan. Generally speaking, these costs are postage in nature and seldom exceed $50.00 for each

event.

Dated: January 8, 2016

UNDERSTOOD AND AGREED TO:

 

/S/ James Smith, Jr. /S/ Lillie Smith

is/ Kirk Myers /s/ Elisabeth D. Harrinaton
Harrington & Myers
